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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

     UNITED STATES OF AMERICA,

                    Plaintiff,

     v.                                            Case No. 8:06-cr-515-T-30TBM

     OCTAVIUS JEFFERSON,

                    Defendant.
                                           /

                                               ORDER

                    THIS MATTER is again before the court on the Defendant’s Motion for

     Competency Evaluation (Doc. 44). By order dated May 4, 2007, the court granted this

     motion and ordered Dr. Donald Taylor to conduct an independent psychiatric

     examination of the Defendant to determine his competence for trial. The examination

     was conducted May 17, 2007. As reflected in Dr. Taylor’s report, his evaluation of the

     Defendant reflects he suffers from a history consistent with substance use disorder and

     personality disorder with evidence of current mild symptoms of depression. However,

     Defendant’s current situation is not so severe that it impairs his competency to stand trial

     on this cause. By Dr. Taylor’s conclusion, the Defendant has the intellectual capacity

     and mental competence to consult with his attorney and to understand the nature of the

     charges and the proceedings against him. At the hearing conducted June 7, 2007, the

     Defendant was offered the opportunity for further proceedings on the matter. The

     Defendant and counsel agree with the conclusions of Dr. Taylor and request no further

     hearing. The court too agrees with the conclusions of Dr. Taylor. The court has twice

     conducted hearings with the Defendant and on both occasions, he evidenced complete
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     understanding of the proceedings and the ability to consult effectively with his attorney.

     Given the conclusions of Dr. Taylor, the court finds the Defendant competent to proceed

     to trial in this cause.

                      Done and Ordered in Tampa, Florida this 7th day of June 2007.




     Copies furnished to:
     Honorable James S. Moody, Jr.
     Patricia Kerwin, Assistant United States Attorney
     John Kingston, Attorney for Defendant




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